
2 N.Y.3d 792 (2004)
ADA RODRIGUEZ, Appellant,
v.
TRUSTEES OF COLUMBIA UNIVERSITY IN THE CITY OF NEW YORK et al., Respondents.
Court of Appeals of the State of New York.
Submitted March 8, 2004.
Decided May 13, 2004.
Motion, insofar as it seeks leave to appeal from that portion of the February 6, 2003 Appellate Division order that dismissed the appeal from Supreme Court's order dismissing the complaint, denied; motion for leave to appeal otherwise dismissed upon the ground that the remaining portion of the February 6, 2003 Appellate Division order as well as the January 6, 2004 Appellate Division order sought to be appealed from do not finally determine the action within the meaning of the Constitution. Motion for poor person relief dismissed as academic.
